Case 8:19-cv-01257-JFW-PJW Document 54 Filed 12/16/19 Page 1 of 3 Page ID #:394




 1   Aaron D. Aftergood (239853)
       aaron@aftergoodesq.com
 2   THE AFTERGOOD LAW FIRM
     1880 Century Park East, Suite 200
 3   Los Angeles, CA 90067
     Telephone: (310) 550-5221
 4   Facsimile: (310) 496-2840
 5   Taylor T. Smith (admitted pro hac vice)
       tsmith@woodrowpeluso.com
 6   WOODROW & PELUSO, LLC
     3900 East Mexico Avenue, Suite 300
 7   Denver, Colorado 80210
     Telephone: (720) 213-0675
 8   Facsimile: (303) 927-0809
 9   Attorneys for Plaintiff and the Classes
10
                          UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
                               WESTERN DIVISION

13   Bryce Abbink, individually and on
14   behalf of all others similarly situated,            Case No. 8:19-cv-01257-JFW-PJWx

15                                Plaintiff,                PLAINTIFF’S REQUEST FOR
16
                                                            ENTRY OF DEFAULT AGAINST
     v.                                                     LEND TECH LOANS, INC.
17
18   Experian Information Solutions, Inc.,                  Hon. John F. Walter
     an Ohio corporation, Lend Tech
19   Loans, Inc., a California corporation,                 Complaint Filed: June 21, 2019
                                                            Pretrial Conf.: June 12, 2020
20   and Unified Document Services, LLC,
                                                            Trial Date: June 23, 2020
     a California Limited Liability
21   Company,
22                              Defendants.
23
           Plaintiff Bryce Abbink (Plaintiff” or “Abbink”) hereby respectfully moves to
24
     have this Court enter default against Defendant Lend Tech Loans, Inc.
25
     (“Defendant” or “Lend Tech”). Entry of Default is proposed against Lend Tech
26
     because it has failed to answer or otherwise respond to Plaintiff’s Class Action
27
28
                       Plaintiff Request for Entry of Default Against Lend Tech Loans, Inc.
                                                      -1-
Case 8:19-cv-01257-JFW-PJW Document 54 Filed 12/16/19 Page 2 of 3 Page ID #:395




 1   Complaint. Defendant Lend Tech was served on September 26, 2019 (dkt. 45) and
 2   to date has not responded.
 3         The Affidavit of Default, attached hereto as Exhibit A, further supports this
 4   request.
 5
 6                                                 Respectfully submitted,
 7
 8
     Dated: December 16, 2019                      Bryce Abbink, individually and on behalf of
                                                   all others similarly situated,
 9
10                                        By:       /s/ Taylor T. Smith
                                                   One of Plaintiff’s Attorneys
11
12                                                 Aaron D. Aftergood (239853)
                                                     aaron@aftergoodesq.com
13                                                 THE AFTERGOOD LAW FIRM
                                                   1880 Century Park East, Suite 200
14                                                 Los Angeles, CA 90067
                                                   Telephone: (310) 550-5221
15                                                 Facsimile: (310) 496-2840

16                                                 Taylor T. Smith (admitted pro hac vice)
                                                     tsmith@woodrowpeluso.com
17                                                 WOODROW & PELUSO, LLC
                                                   3900 East Mexico Avenue, Suite 300
18                                                 Denver, Colorado 80210
                                                   Telephone: (720) 213-0675
19                                                 Facsimile: (303) 927-0809

20                                                 Attorneys for Plaintiff and the Classes

21
22
23
24
25
26
27
28
                      Plaintiff Request for Entry of Default Against Lend Tech Loans, Inc.
                                                     -2-
Case 8:19-cv-01257-JFW-PJW Document 54 Filed 12/16/19 Page 3 of 3 Page ID #:396




 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on December 16, 2019.
 5                                                 /s/ Taylor T. Smith
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                      Plaintiff Request for Entry of Default Against Lend Tech Loans, Inc.
                                                     -3-
